
The Chancello®.
Samuel S. Olden, a highly respectable gentleman, residing near Princeton, died in June, eighteen hundred and forty-one, seized and possessed of a large real and personal estate ; he left a will which bears date on the eighth of February, eighteen hundred and forty-one,and a codicil bearing date the twenty-eighth of May,eighteen hundred and forty-one, both of which are executed agreeable to the laws of this state. The will and codicil were both made but a short time before his death. A question has arisen upon the construction of the will, and the parties have instituted this suit for the purpose of obtaining a judicial detennination upon it. It is evidently the desire of all, not to litigate, but to obtain a decision of this eoux’t, upon the merits of the cause, in the easiest and most direct course practicable.
The bill sets out the making of the will by the testator, and its probate in due form of law. The will itself is also set forth in words at length ; by it there are several specific legacies given, amounting in the whole to thirty-three thousand dollai’s. These legacies vary in amount from one hundred dollars to ten thousand dollars. The first clause is a bequest of ten thousand dollars to Ann P. White, whom the testator affectionately terms his dear aunt, and of whom he adds, “ since she has had the charge of us, has acted the part of a kind and devoted mother.” The next item, is a bequest of eight thousand dollars to his executors in trust, to be paid over to the convexxtion of the Protestant Episcopal Church of the diocese of New-Jersey, for the support of a missionaxy in said state. The third item, is a bequest of six thousand dollars to the treasurer of the Domestic Missionary Society of the Protestant Episcopal Church of the United States, to be applied to the cause of domestic missions in the states therein designated. Another item, is a bequest of fifteen hundred dollars to the x-ector of the church at Princeton, whom he denominates as his “ loved friend and pastor, G. E. Hare.” Another item, is a bequest of one huxxdred dollars to Hetty Hollingshead,whom he denominates “his faithful nurse,” and another of one hundred dollars to Benjaxnin Swain, of *355Bristol, Pennsylvania, who is referred to as the person “ at whose house his dear brother John was so carefully nursed, when he so narrowly escaped drowning in the Delaware.” Another item, is a bequest of five hundred dollars to the corporation of Trinity Church, at Princeton, towards the erection of a parsonage; of four hundred dollars for the support of a parish school, and one hundred dollars for the purchase of books for the Sunday school. The remainder consists of legacies in different amounts to hi» relatives and friends, most of whom he designates as his cousins. Of the thirty-three thousand dollars, it therefore appears, that fifteen thousand dollars is given to religious objects and charities, and the balance in personal legacies to his friends and relatives. After thus far disposing of his property, and giving in addition a few specific articles to his friends, he makes the following clause, upon which the difficulty in construing the will has arisen.
The clause is in these wrords: “ Item, After all my just debts are paid, and the expense of fulfilling this my last will and testament, I give and bequeath all the remainder of my property both real and personal, of whatsoever kind and description to be equally divided among my four cousins, Job, Eobert, George -and John White.”
The object of this suit is to obtain an account of the estate, and payment of the legacies, from the personal estate if sufficient, and if not then from the land, and if not, then that the debts and expenses of settling the estate should be paid out of the real estate.
There is a demurrer to the bill, upon which two questions are raised. First, are the legacies in this will chargeable on the real estate? and, secondly, if not, are the debts chargeable on the real estate, and will a court of equity direct, under the provisions in this will, that they be paid out of the real estate ? These questions are of sober import, and will, probably, have an important bearing on the disposition of the testator’s estate.
I proceed to consider the first question raised by the demurrer; *356Are the legacies a charge, by the terms of this will, upon the real estate 2 or, in other words, if the personal estate shall be insufficient, after payment of debts, to discharge the legacies, must they be lost to the legatees, or can they resort to the land devised in the residuary clause for their payment 2
The general principle is undeniable, that the personal estate alone is liable for the payment of legacies, unless the land be charged with their payment by direct terms, or by fair and just implication. In this case there can be no pretence of a direct eharge on the land ; but it is insisted that such was the intention of the testator, from the terms used in the residuary clause, as well as from the whole scope and tenor of the will. The will was drawn, it is evident, by an intelligent person, acquainted with the use of words in their ordinary acceptation, and probably (as stated on the argument) by the testator himself. It is equally apparent, that the writer was unacquainted with technical legal phrases, and most probably, therefore, with many legal principles applicable to the subject of wills. The language in the residuary clause is not, after the payment of legacies, but after the payment of “my just debts and the expense of fulfiling this my last will and testament, I give,” &amp;c. This last clause, “ the expense of fulfilling this my last will,” it is contended, refers to legacies; but this view appears to me rather more ingenious than sound. It would be going very far, had the testator said, after payment of my just debts and fulfilling this my will, to have so considered it; but the term expense of fulfilling this my will, evidently refers only to the charges of the executors, and the contingent expenses incident to the execution of the will.
The plain and only reasonable view to be taken is, that the testator, after making the specific legacies, which had, no doubt, occupied his main thoughts in the disposition of his estate, recollected that his debts were to be paid, and the charges for the ■execution of the will, and after that the residue was to be disposed of. Having, therefore, finished the various legacies, he adds, most naturally, after my debts and the expense of fulfil*357ling the will are paid, I give all that remains to my four cousins.
There is no devise of a specific farm to A., and another to B.; but it is a general devise of all the remainder of his property, both real and personal. There is a blending of the real and personal estate together, treating it as an entire thing, and making no distinction whatever in it. He clearly meant to give what remained, after the previous dispositions of the will had been satisfied. It is fairly to be inferred, that this testator either did not know, or the thought did not at the time occur to him, that the personal estate was alone applicable to the payment of legacies. The language used in the clause is, that the remainder, not of his land, not of his personal estate, but of his property generally, both real and personal, of whatsoever kind and description, should go to the residuary legatees and devisees. Probably a large majority of persons, and those of intelligence, have no other idea, than that their whole estate, as well land as personal property, must be disposed of in the discharge of the legacies bequeathed by their will. It would, indeed, be difficult to satisfy the language used in this instrument upon any other idea. It is the remainder only that is given of his real and personal estate, and yet this is the first disposition that he makes of any of his real estate. If the design was that his four cousins •should take his lands, freed from any obligation except for the payment of his debts and the expenses of his executors, it would seem to me that the testator would have made a plain devise of them at once, and not in the form of a residuary •clause. Besides, it is not a common course to fasten debts upon real estate; these, all know, are to be paid, and under our law •cannot be passed by so long as property of any kind remains. The idea that the testator meant to blend his estate, and treat his personal and real estate as one common fund or property, is fortified by the clause in the will which immediately follows. Item, I wish that the house I have lately purchased of O. M. Campbell, valued at four thousand dollars, to be a part of my •dear aunt’s legacy.” This was a distinct direction, that certain *358of his real estate, at a specified valuation, should be applied in payment of one of the previous legacies in the will, and that^ too immediately after he had made the residuary clause.
I state this, as the impression made on my mind, as to the intntion of the testator, and that is to govern. We are not to-make a new will, or to enter at all into the question, whether the disposition he has made of the property, be judicious or not, but if possible, to place such a construction upon it as to carry out his own views and object. Every man has a right to bestow his property when and how he oleases, and his meaning, is the grand point to be reached.
Thus'far, it will be observed, I have been considering the will . independent of adjudged cases. These have been furnished me by the industry of counsel on the argument, and it behoves us to'look into them, and see what the light, experience and judgment of others have shed upon like cases.
The English authorities will be found collected in 1 Roper on Legacies, 448 ; they were cited and carefully examined at the hearing; they are far from being uniform, and depend much' upon the language used in each will. In all, the intention is held to be the governing rule; in some, it is said, the charge shall be declared in favor of creditors and not legatees, while in others no such distinction is admitted. In most, a construction has been adopted favorable to the heir at law, while the simple fact of a devise in the form of a residuary clause, unaccompanied by any other circumstances, has not been sufficient to raise the charge; when the charge has been admitted also, it has been held that the personal estate must be resorted to in the first instance, and the land only looked to in aid of that fund. In Lypet v. Carter, 1 Vesey, sen. 500, the master of the rolls held the legacy a charge in favor of a daughter, whose portion would be lost without such construction. There the real estatate was devised to a son, and no direct charge made upon it, but it was inferred from the whole will that such must have been the testator’s intention. In Alcock v. Sparhawk, 2 Vernon, 228, the testator first devises his lands to his brother, in *359feehe then gives a legacy of two hundred pounds to Susanna Alcock, to be paid by his executor within five years after his decease ; he then appoints his brother executor to his will, desiring him to see the same performed according to the trust and confidence that he reposed in him. There was no specific charge, and yet upon the clause creating his brother executor, it was adjudged that the lands were liable to the payment of the legacy. The case of Heath v. Heath, 2 Peere Williams, 366, was the case of a direction given, that the legacies should be paid out of the real estate, and a gift of the personal estate to the testator’s children; there, as the personal estate was disposed of, the whole of the legacies were paid out of the real estate. In the case of Walker v. Jackson, 2 Atkyns, 624, lord Iiardwicke declared the general rule to be, that the personal estate must be applied in the first place in payment of debts, but that a testator may substitute the real in the room of the personal estate; and he held such to be the intention in that case, and the personal estate was exempt accordingly, and the debts charged upon another fund. In Davis v. Gardiner, 2 Peere Williams, 187, there were words independent of the clause devising the lands, showing an intention that the personal estate alone should pay the legacies, and it was so ordered; this construction also was in favor of the heir. The case of Kightly v. Kightly, 2 Vesey, jr. 328, proceeds wholly upon the ground that there is nothing on the face of the will, to show the testator’s desire to charge the lands devised with the payment of legacies, and the master of the rolls forms his opinion from the general tenor of the instrument; the words relied on to make out such intent, are those used in the first clause of the will, in which the testator directs all his legal debts, legacies and funeral expenses to be paid ; but the will then makes a number of specific devises, before the residuary clause, and it was adjudged that the complexion of the will evinced no intention that any other than the personal estate should be applied in discharge of debts and legacies. Keeling v. Brown, 5 Vesey, 359, is very similar to the last case cited. The reliance to show an intention to charge *360the lands, was on the first clause, in which the language is, “ Imprimis, I will and direct, that all my just debts and funeral expenses be paid and discharged, as soon as conveniently may be after my decease, by my executors.” Then follows a numbej’ of specific devises, with the ordinary residuary clause. It was held that the first clause was only a direction to the executors to discharge the debts and funeral expenses, without intending to change the fund out of which they were to be paid. In Brudenell v. Boughten, 2 Atkyns, 268, there were two wills. By the first, two specific pecuniary legacies were given, and then follows a devise of the remainder of the freehold and personal estate after payment of the debts and legacies. The last will revoked the former and reduced the legacies in amount, and by a residuary clause devised all the rest of the estate, real and personal, to the brother of testator, and appointed him executor. The first will was held by lord Iiardwieke to be cancelled by the second, and that the legacies given by the second will were a charge on the real estate. The case of Bench v. Biles, 4 Mad. 187, referred to in Powell on Devises, 661, is still stronger. The testator gave all his personal and real estate to his wife, for life, and after her death he gave several legacies, and then all the rest, residue and remainder of his real and personal estate to his nephews; the legacies were charged on the real estate, and upon the ground that there was a blending of estates as one fund.
These are a few only of the English cases, cited on the argument, or which might be found bearing more or less on the question.
In this country the cases are also far from being uniform. In Pennsylvania, the residuary clause has been held of itself sufficient to indicate an intention that nothing should pass by it, but what remained, after all previous dispositions in the will were provided for. In Connecticut, the courts have not inclined to raise a charge except in the clearest eases: Nichols v. Postlethwaite, 2 Dallas, 131; Hassanclever v. Tucker, 2 Binney, 525; Swift v. Edson, 5 Connecticut, 531; Gridley v. Andrews, 8 *361Connecticut 1, In New-York, chancellor Kent, in Lupton v. Lupton, 2 John. Chan. 614, lias reviewed some of the English cases, and placing himself upon the case before referred to, of Keeling v. Brown, held that the mere residuary clause, without further in dications on the face of the instrument, will not authorize a charge upon lands. In ordinary cases he considers the clause as the formula in the wills. This is, perhaps, the safest rule of construction, but it is by no means intended by that learned chancellor, that such a clause, coupled with other evidences of intention appearing on the will itself, may not be used in aid of such a construction.
I confess this examination of cases, while it exhibits the general rules of construction, has done little towards deciding the present cause. Indeed, it must be so in the nature of things. One will forms but a poor guide for another, and the introduction of one sentence, nay, of one word, will sometimes change the whole face of the instrument. Every will carries its own impress.
After a full consideration of the will before me in all its parts, and referring with some care to the authorities cited on the argument, many of which I have deemed it unnecessary to state here, I have come to the decided conclusion that the testator -designed to charge the lands devised in the residuary clause, with the payment of the debts and legacies, not as a primary fund, but in aid of the personal estate, if that should be exhausted. I think so, in the first place, from the general character of the whole instrument, by which it would appear, that the testator either knew no difference, or it did not occur to him at the time, between real and personal estate in the payment of legacies. In the second place, from the peculiar expressions used in the residuary clause, by which the remainder of his property alone was to go to the devisees. In the third place, because the testator, at the time of making the residuary clause, which embraces his real estate, had not parted with one acre of it. In the fourth place, from the clause directing that a house should, at a certain valuation, be a part of one of the legacies, *362furnishing evidence that the testator made no distinction in his own mind, in the application of his property to the purposes of the will, whether real or personal. And in the last place, from the character of the legacies themselves.
These legacies strike me as of no ordinary character. The testator had no immediate family, never having married, and was therefore at liberty to look round for those objects of affection and charity, which had been dear to him in life. To his aunt Ann P. "White, he seems to have felt the strongest attachment. She is first named in the will. He speaks of her as his dear aunt, and one who had the charge of him, and as I infer, of his branch of the family, and had acted the part of a kind and devoted mother. He is so careful of her as to provide her a house to live in, furniture to supply it, and a horse and chaise to ride in. With such manifestations of feeling, it would require a strong case to induce the belief that he did not intend this'legacy should be paid, and that too at all hazards.
The testator was also a man of correct feeling; he remembers his faithful nurse, his relatives, and even the man who had befriended a brother in distress. He was also a man of strong religious feeling, and much interested in the cause. He gave legacies to advance the spread of the Gospel, not only at home, but in other states. He looked with evident pleasure upon his own church at Princeton, and while he remembered the place of his worship, was not unmindful of him who ministered at the altar.
These legacies were, from the language used, near the testator’s heart. They were not made incidentally, and aside from the main disposition of his property, but were evidentally the principal and grand objects he had in view. The devises in the residuary clause, though doubtless persons for whom the testator must have had the highest respect and affection, yet they are stated to be his cousins, and in that respect were no nearer to him than most of the legatees, and in fact two of them are among the number of those who receive legacies.
The construction, therefore, which I place on this will, and *363I can bring my mind to no other, is, that the debts and expenses of executing the will are to be paid first from the personal estate, then the legacies, and in case of a deficiency, the land devised in the residuary clause may be resorted to.
This view renders it unnecessary to consider the second proposition stated in the argument.
Demurrer overruled, with costs.*
Cited in Massaker v. Massaker, 2 Beas. 265; Leigh v. Savidge’s Ex. 1 MCar. 129, 132; Dey v. Dey, &amp; C. E. Gr. 140.

 From this decision, the residuary devisees appealed. The appeal was argued before the court of errors and appeals, upon both grounds of demurrer, at April term, eighteen hundred and forty-áíx, and the order of the chancellor reversed.
The following decree was made in that court:—
“ This cause coming on to be heard, upon an appeal from the decree of the chancellor, made the eleventh day of July, one thousand eight hundred and forty-three, overruling the demurrer filed in this case on the part of the appellants, to so much and such parts of the respondents’ bill of complaint as charge that the legacies therein mentioned as bequeathed in and by the last will and testament of the said Samuel S. Olden, deceased, are chargeable upon the real estate of the said testator, if the personal estate of the said testator should prove insufficient for the payment of the said legacies; and also to so much and such parts of the said bill, as charge that in case the said legacies are not a charge upon the real estate, then that the debts of the said testator are, by the provisions of the said will, charged upon the said real estate. And the matter having been debated before the court, by William Hoisted and Peter D.Yroom, of counsel with the appellants, and by Diehard S. Field and William L. Dayton, of counsel with the respondents; and the court being of opinion that the legacies mentioned and bequeathed in the said will of the said testator, are not, nor are any of them, chargeable upon the real estate devised by the said testator, in and by his said will, in case the personal estate of the said testator should prove insufficient for the payment of the same; and also that the debts of the said testator are not, by the provisions of the said will, charged upon the said real estate, so as to entitle the said legatees to have the assets marshalled for the payment of the legacies, as in their said bill it is prayed, and that the said demurrer ought to have been allowed: It is, on this thirtieth day of April, in the term of April, in the year of our Lord one thousand eight hundred and forty-six, ordered, adjudged and decreed, that the said decree of the chancellor, overruling the said demurrer, be reversed, with costs, and that the said demurrer be allowed; and it is further ordered, that the record and tike proceedings in this cause be remitted to the court of chancery, to the end that the saia court may proceed thereon according to the rules and practice of said court”

